 Case 3:04-cv-00251-HSO-ASH                            Document 857-13   Filed 09/03/19   Page 1 of 1




          Kenya.Key Rachel
          Baker, Done!son, Bearman, Caldwell & Berkowitz, PC
          100 Vision Drive
          Suite 400
          Jackson,'iVilsdisdippl 39211
          March 5, 2018

          Re: Notice of Non-Compliance Re Paragraph 11.1 :2"`I Modified Missis
                                                                               sippi
          SettlementAgreementend Reform Plan and Stipulated Third.Remedi
                                                                             al Order
          Olivia Y v. et al. v. Phil Bryant as Governor Case No. 3:04CV251L
                                                                            NIU
          SENT VIA E-MAIL

          Dear. Kertyw

         Pursuant to Paragraph 11.1 of the 2nd Modified Mississippi Settlement
         Agreement and Reform Plan, and Paragraph 10 of the Stipulated Third
         Remedial Order("STRO") Plaintiffs inform you of their intention to file
                                                                                   a Motion
         with the Court to enforce their rights pursuant to Defendants' violati
                                                                                on of
         paragraphs 5d and 10, of the STRO.

         Specifically,.Defendants are in violation of their agreement that by.De
                                                                                 cember
         31, 2017,90% of state workers will meet the caseload performance
                                                                               target of
         90%.(STRO paragraph 5(d)). As verified by Public Catalyst,the
                                                                            underlying
         caseload data establishes that as of December 31,2017, only 61%
                                                                               of workers
         met the required caseload standard.

         Very truly yours,


         Is/

         Marcia Robinson Lowry
        Executive Director
         A'Better Childhood,inc.
        -Counsellor Plairitiff-Children

         Attachment




A BETTER"
CHILDHOOD       1095 Hard scrabble Rd.Chappoqua. NY 10514
                obetterchlIdlio acting


                                                                                                  EXHIBIT

                                                                                                   M
